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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


NEW JERSEY COALITION OF
AUTOMOTIVE RETAILERS, INC.,

                    Plaintiff,
                                            Case No. 3:18-cv-14563-ZNQ-TJB
             v.
                                            LOCAL RULE 7.1.1 DISCLOSURE
MAZDA MOTOR OF AMERICA,                     STATEMENT
INC.,

                    Defendant.



      Pursuant to Local Civil Rule 7.1.1, Defendant Mazda Motor of America,

Inc., d/b/a Mazda North American Operations states that it is unaware of any

person or entity that is not a party providing funding for some or all of the

attorneys’ fees and expenses for the litigation on a non-recourse basis in exchange

for: (1) a contingent financial interest based upon the results of the litigation or (2)

a non-monetary result that is not in the nature of a personal or bank loan, or

insurance.
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Dated: July 29, 2021
                                      Respectfully submitted

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                                      Attorneys for Defendant Mazda Motor of
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                                      American Operations




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                        CERTIFICATE OF SERVICE

      I, Jessica K. Jacobs, hereby certify that on July 29, 2021, the foregoing

Local Rule 7.1.1 Disclosure Statement was filed with the Clerk of Court using

CM/ECF, which will serve a Notice of Electronic Filing on all counsel of record.



                                                   /s/ Jessica K. Jacobs
                                                     Jessica K. Jacobs




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